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                                                                                   CALIFORNIA
                                                                              CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                  )              DEFENDANTS ( Check box if you are representing yourself                           )
HUMANA INC.                                                                                    MALLINCKRODT ARD LLC (f/k/a Mallinckrodt ARD Inc., f/k/a
                                                                                               Questcor Pharmaceuticals, Inc.), and MALLINCKRODT PLC


(b) County of Residence of First Listed Plaintiff JEFFERSON, KY                               County of Residence of First Listed Defendant BEDMINSTER, NJ
(EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                             Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                           representing yourself, provide the same information.
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                                                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
II. BASIS OF JURISDICTION (Place an X in one box only.)                                   (Place an X in one box for plaintiff and one for defendant)
    1. U.S. Government                   3. Federal Question (U.S.                                                 PTF         DEF    Incorporated or Principal Place           PTF          DEF
                                                                                     Citizen of This State                            of Business in this State
    Plaintiff                            Government Not a Party)                                                         1      1                                                     4       4
                                                                                     Citizen of Another State                         Incorporated and Principal Place                5       5
                                                                                                                         2      2
                                                                                                                                      of Business in Another State
    2. U.S. Government                   4. Diversity (Indicate Citizenship          Citizen or Subject of a
                                                                                                                         3      3     Foreign Nation                                  6       6
    Defendant                            of Parties in Item III)                     Foreign Country


IV. ORIGIN (Place an X in one box only.)
    1. Original            2. Removed from           3. Remanded from         4. Reinstated or         5. Transferred from Another            6. Multidistrict            8. Multidistrict
       Proceeding             State Court               Appellate Court          Reopened                 District (Specify)                     Litigation -                Litigation -
                                                                                                                                                 Transfer                   Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   Yes          No        (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                Yes       No                          MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Violation of the Sherman Antitrust Act, 15 U.S.C. § 1; Violation of the Sherman Antitrust Act, 15 U.S.C. § 2; Violation of the RICO
Act, 18 U.S.C. § 1962(c); Conspiracy to Violate RICO Act 18 U.S.C. § 1962(d)
VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT               REAL PROPERTY CONT.                IMMIGRATION                   PRISONER PETITIONS                   PROPERTY RIGHTS
    375 False Claims Act            110 Insurance               240 Torts to Land                                              Habeas Corpus:                820 Copyrights
                                                                                             462 Naturalization
                                                                245 Tort Product             Application                      463 Alien Detainee             830 Patent
    376 Qui Tam                     120 Marine
                                                                Liability                    465 Other                        510 Motions to Vacate          835 Patent – Abbreviated
    (31 USC 3729(a))                130 Miller Act              290 All Other Real           Immigration Actions              Sentence                       New Drug Application
     400 State                      140 Negotiable              Property                          TORTS                       530 General                    840 Trademark



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   Reapportionment        Case 2:19-cv-06926
                                Instrument   Document
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                                                         PERSONAL PROPERTY Page
                                                                              5352 of Penalty
                                                                                 Death 4 Page ID #:51
   410 Antitrust                150 Recovery of       PERSONAL INJURY                                               Other:
   430 Banks and Banking        Overpayment &          310 Airplane                370 Other Fraud           540 Mandamus/Other                  SOCIAL SECURITY
                                Enforcement of
   450 Commerce/ICC                                    315 Airplane                371 Truth in Lending      550 Civil Rights                 861 HIA (1395ff)
                                Judgment
    Rates/Etc.                                         Product Liability          380 Other Personal         555 Prison Condition             862 Black Lung (923)
   460 Deportation              151 Medicare Act                                  Property Damage                                             863 DIWC/DIWW (405 (g))
                                                       320 Assault, Libel &                                  560 Civil Detainee
   470 Racketeer Influ-         152 Recovery of        Slander                    385 Property Damage         Conditions of                   864 SSID Title XVI
   enced & Corrupt Org.          Defaulted Student                                Product Liability           Confinement
                                 Loan (Excl. Vet.)     330 Fed. Employers’                                                                    865 RSI (405 (g))
    480 Consumer Credit                                Liability                    BANKRUPTCY
                                153Recovery of
   490 Cable/Sat TV             Overpayment of         340 Marine                                           FORFEITURE/PENALTY
                                                                                  422 Appeal 28                                                 FEDERAL TAX SUITS
   850 Securities/Com-          Vet. Benefits          345 Marine Product         USC 158                    625 Drug Related                 870 Taxes (U.S. Plaintiff or
   modities/Exchange            160 Stockholders'      Liability
                                                                                   423 Withdrawal 28         Seizure of Property 21           Defendant)
                                Suits                  350 Motor Vehicle           USC 157                   USC 881
    890 Other Statutory                                                                                                                       871 IRS-Third Party 26 USC
    Actions                                            355 Motor Vehicle            CIVIL RIGHTS             690 Other                         7609
                                190 Other
   891 Agricultural Acts        Contract               Product Liability           440 Other Civil Rights          LABOR
   893 Environmental            195 Contract           360 Other Personal          441 Voting                710 Fair Labor Standards
   Matters                      Product Liability      Injury                                                Act
                                                                                   442 Employment
   895 Freedom of Info.         196 Franchise          362 Personal Injury-                                  720 Labor/Mgmt.
                                                                                   443 Housing/
   Act                                                 Med Malpratice                                        Relations
                               REAL PROPERTY                                       Accommodations
   896 Arbitration                                     365 Personal Injury-                                  740 Railway Labor Act
                                210 Land                                           445 American with
                                                       Product Liability
    899 Admin. Procedures       Condemnation                                       Disabilities-             751 Family and Medical
    Act/Review of Appeal of                            367Health Care/             Employment                 Leave Act
                                220 Foreclosure
    Agency Decision                                    Pharmaceutical
                                230 Rent Lease &                                   446 American with         790 Other Labor
                                                       Personal Injury
   950 Constitutionality of                                                        Disabilities-Other        Litigation
                                Ejectment              Product Liability
   State Statutes                                                                  448 Education             791 Employee Ret. Inc.
                                                       368Asbestos
                                                       Personal Injury                                        Security Act
                                                       Product Liability
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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                      INITIAL DIVISION IN CACD IS:
              Yes     No
                                                        Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                           Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                Orange                                                                                           Southern
corresponding division in response to
Question E, below, and continue from there.             Riverside or San Bernardino                                                                       Eastern


QUESTION B: Is the United States, or                B.1. Do 50% or more of the defendants who reside in
one of its agencies or employees, a                 the district reside in Orange Co.?                              YES. Your case will initially be assigned to the Southern Division.
PLAINTIFF in this action?                                                                                           Enter "Southern" in response to Question E, below, and continue
                                                                                                                    from there.
                                                    check one of the boxes to the right
                   Yes        No                                                                                    NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino          YES. Your case will initially be assigned to the Eastern Division.
Question B.1, at right.                             Counties? (Consider the two counties together.)                 Enter "Eastern" in response to Question E, below, and continue
                                                                                                                    from there.

                                                    check one of the boxes to the right .                           NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.


QUESTION C: Is the United States, or                C.1. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                 district reside in Orange Co.?                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                           from there.
                                                    check one of the boxes to the right
                   Yes       No
                                                                                                                    NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino              Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                 from there.

                                                    check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.

                                                                                                               A.                          B.                            C.
                                                                                                                                   Riverside or San          Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                                                Bernardino County          Santa Barbara, or San
                                                                                                       Orange County
                                                                                                                                                              Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                 D.1. Is there at least one answer in Column A?                                               D.2. Is there at least one answer in Column B?
                                        Yes             No                                                                          Yes           No

                     If "yes," your case will initially be assigned to the5                                     5If "yes," your case will initially be assigned to the
                                  SOUTHERN DIVISION.                                                                           EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                               Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                       If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                              INITIAL DIVISION IN CACD
Enter the initial division determined by Question A, B, C, or D above:
                                                                                                                                  WESTERN
QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                Yes            No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                        NO                   YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                   YES

        If yes, list case number(s):


         Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;
                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.



X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Jeremy D. Matz                                                                                   DATE:    August 8, 2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

      Nature of Suit Code Abbreviation                          Substantive Statement of Cause of Action
                                                     All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
         861                        HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                     (42 U.S.C. 1935FF(b))

         862                        BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                     923)

         863                                         All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                    DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

         863                        DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                     amended. (42 U.S.C. 405 (g))

                                    SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
         864
                                                     amended.

                                                     All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
         865                        RSI              (42 U.S.C. 405 (g))




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